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                           Exhibit 6
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 AHARON MILLER, et al.,                                :
                                                       :    Case No. 18-cv-2192 (BMC)(PK)
                               Plaintiffs,             :
                                                       :
        -against-                                      :
                                                       :
 ARAB BANK, PLC,                                       :
                               Defendant.              :
 NATHAN PAM, et al.,                                   :    Case No. 18-cv-4670 (BMC)(PK)
                               Plaintiffs,             :
                                                       :
        -against-                                      :
                                                       :
 ARAB BANK, PLC,                                       :
                               Defendant.              :


        DEFENDANT ARAB BANK, PLC’S RESPONSES AND OBJECTIONS TO
      PLAINTIFFS’ FIRST REQUEST FOR THE PRODUCTION OF DOCUMENTS

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant Arab Bank,

 plc (“Arab Bank”), by its undersigned counsel, hereby responds and objects to Plaintiffs’ First

 Request for the Production of Documents dated July 22, 2019 (the “Requests”) as follows:

                       OBJECTIONS APPLICABLE TO MOST REQUESTS1

        1.      Arab Bank objects to the Requests to the extent that they seek the production of

 documents that do not specifically relate to the allegations in the “Complaints” (as defined in the

 Requests). The Requests seek documents related to bank accounts and transactions for 281

 individuals and entities, only 42 of which are mentioned in the Complaints. Of those 42 individuals

 and entities, only 4 are alleged to have committed, planned, or authorized any of the 14 attacks

 that Plaintiffs claim caused their alleged injuries (the “Incidents”). Thus Arab Bank objects to



        1
            Because these objections apply to multiple Requests, for the sake of brevity, they are
 stated in full only at the outset; as applicable, they are also referenced in the responses to each
 separate Request.
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 these Requests on the grounds that they are overly broad, outside the scope of the Complaints’

 allegations against Arab Bank, unduly burdensome, disproportionate to the needs of the case,2 and

 request the production of documents that are not relevant to the claims or defenses of any party.

        2.      Arab Bank objects to these Requests to the extent they seek disclosure of documents

 that are subject to bank confidentiality laws of the countries in which Arab Bank operates. The

 Requests seek the production of documents located outside of the United States regarding financial

 services rendered outside of the United States, particularly in Jordan, Lebanon, and the Palestinian

 Territories. As Arab Bank noted in its Answers, Arab Bank is constrained from responding to

 such requests by the bank confidentiality laws of those jurisdictions. (See Miller v. Arab Bank,

 PLC, 18-cv-2192 (BMC)(PK) (Dkt. 39 at 1-2); Pam v. Arab Bank, PLC, 18-cv-4670 (BMC)(PK)

 (Dkt. 32 at 1-2; Dkt. 33 at 1-2)). Violating those laws would expose Arab Bank to criminal

 sanctions and fines and would undermine the legally protected privacy rights of foreign persons

 who are not parties to these actions.3 As Plaintiffs and the Court are aware, Arab Bank cannot

 produce banking records without the account holders’ permission or regulatory approval. The

 Requests call for banking records for hundreds of accounts, most of which are for people or entities

 with no connection to the Incidents. It will be difficult, if not impossible, for Arab Bank to obtain

 customer consent or regulatory approval for all of the records Plaintiffs have requested. Arab Bank




        2
             Throughout these Responses, an objection that a Request is “disproportionate” means
 that it is disproportionate to the needs of the cases based on the factors set forth in Rule 26(b)(1)
 of the Federal Rules of Civil Procedure.
          3
             See Br. for the United States as Amicus Curiae, Arab Bank, PLC v. Linde, et al., No. 12-
 1485, 2014 WL 2191224, at *16-17 (S. Ct. May 23, 2014) (noting that “criminal statutes governing
 bank secrecy in a number of foreign jurisdictions prohibit disclosing the [foreign financial
 information] sought by” plaintiffs and further noting that these statutes “reflect legitimate
 sovereign interests in protecting foreign citizens’ privacy and confidence in the nations’ financial
 institutions”).

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 respectfully objects on the grounds that these Requests are impermissibly broad, unduly

 burdensome, and disproportionate to the needs of the case. Fed. R. Civ. P. 26(b)(1).

        To make this process more practicable, Arab Bank suggests that Plaintiffs make a good

 faith effort to narrow these Requests to be proportional to the allegations in these cases.

 Attempting to request foreign regulators to waive bank confidentiality laws for the accounts of

 hundreds of customers who are not identfied in the Complaints—and thus have no connection to

 the Incidents—severely jeopardizes the success of any waiver request. Once the Court rules on

 the appropriate scope of the Requests, Arab Bank is prepared to work with Plaintiffs and the Court

 to pursue all lawful means to obtain relevant banking records that are proportional to these cases,

 including seeking customer consent and regulatory approval. Arab Bank also will work with

 Plaintiffs’ counsel and the Court to prepare appropriate Letters Rogatory under the Hague

 Convention and similar laws to obtain foreign court approval for the production of relevant and

 proportional banking records. Arab Bank previously produced in Linde v. Arab Bank, PLC, No.

 04-cv-02799 (E.D.N.Y.) (the “Linde case”) foreign bank account records after affirmatively

 obtaining the consent of the Saudi Committee in Support of the Palestinian People (the “Saudi

 Committee”) and the Lebanese Special Investigation Commission (the “LSIC”). As detailed

 below, Arab Bank is producing certain of those documents in these cases.

        3.      Arab Bank objects to the Requests to the extent they seek the production of

 documents or information protected by privileges, including but not limited to the attorney-client

 privilege, the attorney work product doctrine, and any other legally recognized obligation and/or

 rule. Arab Bank hereby claims such privileges and objects to the production of any documents

 subject thereto. Arab Bank will produce an appropriate privilege log that complies with E.D.N.Y.-

 S.D.N.Y. Local Civil Rule 26.2.



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        4.      Arab Bank objects to the definition of “Arab Bank” to the extent it goes beyond the

 named Defendant, Arab Bank, plc.

        5.      Arab Bank objects to the characterization of certain individuals and entities,

 including the vagueness of the terms used to describe them, referred to in the Requests as HAMAS

 “Suicide Bombers,” “Martyrs,” terrorists, leaders, operatives, agents, zakat committees, Islamic

 societies, social institutions, and/or fundraising organizations.

       RESPONSES AND OBJECTIONS TO SPECIFIC DOCUMENT REQUESTS4

        The following Responses and Objections to specific Requests are made in addition to and

 without waiving the foregoing Objections Applicable to Most Requests (the “Initial Objections”),

 which are expressly incorporated into the responses and objections set forth below.

 REQUEST NO 1:

         All Documents concerning the account of senior HAMAS leader Osama Hamdan at the
 Al-Mazra’a branch in Beirut, Lebanon, Account # 3-810-622473-0330, that was used by HAMAS
 to solicit contributions on its website www.palestine-info.com, including all communications
 concerning the decision to return the balance in the account to Osama Hamdan.

 RESPONSE TO REQUEST NO 1:

        Arab Bank objects to Request No. 1 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases because there

 are no specific allegations that Osama Hamdan committed, planned, or authorized any of the

 Incidents. See Initial Objections, No. 1. Subject to and without waiving the foregoing, Arab Bank



        4
           In responding to these Requests, Arab Bank is producing documents by identifying Bates
 numbers of documents previously produced in the Linde case (hereinafter referred to as “Linde
 Bates Nos.”) with the understanding that the parties will: (1) adhere to the prior confidentiality
 designations for those documents under the meanings set forth in the Linde Protective Order (see
 Dkt. 85); and (2) otherwise maintain documents pursuant to the terms set forth in the Protective
 Orders entered by this Court in Pam (see Dkt. 43) and Miller (see Dkt. 50). To the extent that this
 is contradictory to the Instructions for these Requests, including Instruction Nos. 3, 5, 7, 8, and 13,
 Arab Bank objects to those instructions as overly burdensome.

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 is producing the Linde Bates Nos. set forth in Exhibit 1, and Arab Bank will continue to conduct

 a reasonable search for, and produce on a rolling basis, non-privileged documents responsive to

 this Request.

 REQUEST NO 2:

         All Documents concerning accounts maintained at Arab Bank by the following HAMAS
 leaders, operatives and agents:

                 a.    Ahmed Yassin a/k/a Ahmad Yasine (see, e.g., ABPLC211999);
                 b.    Halima Yassin (Ahmed Yassin’s wife) (see, e.g., ABPLC212107);
                 c.    Khalil Hasan Yassin (Ahmed Yassin’s nephew) (see, e.g.,
                       ABPLC212064);
                 d.    Abd al-Hakim Ali al-Mana’ameh (Ahmed Yassin’s bodyguard) (see, e.g.,
                       ABPLC212158);
                 e.    Osama Hamdan (all Documents not encompassed by Request No. 1
                       above);
                 f.    Ismail Abd Al Salam Haniyeh a/k/a Ismail Haniya (see, e.g.,
                       ABPLC195876);
                 g.    Ismail Abu Shanab (see, e.g., ABPLC212138);
                 h.    Salah Shehadeh (see, e.g., ABPLC212108);
                 i.    Layla Khamis Yusuf Safira (Salah Shehadeh’s wife) (see, e.g.,
                       ABPLC021783);
                 j.    Abbas al-Sayed (see, e.g., ABPLC211884);
                 k.    Huda Ahmad Darwazah (Salah al-Din Darwazah’s wife) (see, e.g.,
                       ABPLC212104);
                 l.    Muhammad Shama (see, e.g., ABPLC211951);
                 m.    Ghazi Hamed (see, e.g., ABPLC211868);
                 n.    Jamal Salim (see, e.g., ABPLC211808);
                 o.    Muna Mansur, the wife of HAMAS leader Jamal Mansur (see, e.g.,
                       ABPLC211930);
                 p.    Riyad Husain Abdallah Abu Zaid (see, e.g., ABPLC211928);
                 q.    Mahdi Shaker al-Hanbali (see, e.g., ABPLC211856);
                 r.    Baha al-Din al-Madhun (see, e.g., ABPLC212009);
                 s.    Abd al-Khaleq al-Natsheh (see, e.g., ABPLC195871);
                 t.    Khaled Muhammad Amin al-Haj (see, e.g., ABPLC212037);
                 u.    Nada Jamal al-Jayousi (see, e.g., ABPLC212055);
                 v.    Asma’ Muhammad Suliman Saba’ana, wife of Jamal Abd al-Salam Abu
                       al-Hija (see, e.g., ABPLC010758);
                 w.    Lateefah Naji Othman Chawa (see, e.g., ABPLC212188);
                 x.    Khaled Ghazi Daud al-Masri (see, e.g., ABPLC211949);
                 y.    Abd al-Salam Ismail Haniyeh (see, e.g., ABPLC211961);
                 z.    Khaled Ibrahim Al Abd Al Quqa (see, e.g., ABPLC212014);
                 aa.   Khalil Mohamad Amin El Haj (see, e.g., ABPLC212061);
                 bb.   Mohamed Redwan Ibrahim Yasine (see, e.g., ABPLC212006); and

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                cc.    Rabah Hayel Takrouri (see, e.g., ABPLC211970).

 RESPONSE TO REQUEST NO 2:

        Arab Bank objects to Request No. 2 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 29 alleged HAMAS operatives for whom Plaintiffs are requesting information, only 15 are

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to Request No. 2 to the

 extent it seeks production of banking records located in foreign jurisdictions that are subject to

 bank confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which relate to individuals who are identified in the Complaints. Arab Bank

 will continue to conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to individuals identified in the Complaints.

 REQUEST NO 3:

        All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 concerning the following HAMAS leaders and operatives:

                a.     Ayman Anwar Ahmad Arafat (see, e.g., ABPLC212149);
                b.     Mohamad Saleh Taha (see, e.g., ABPLC212099);
                c.     Omar Ali Abd al-Al (see, e.g., ABPLC211926);
                d.     Sabah Saeed Hasan Dar Khalil (see, e.g., ABPLC211913);
                e.     Sayed Abu Msameh (see, e.g., ABPLC211983);
                f.     Omar Saleh Muhammad Faiq Sharif;
                g.     Firas Fawzi Salim Faydi;
                h.     Khaled Dib Hasan Abu Hamd;
                i.     Muhammad Hasan Arman;
                j.     Walid Abd al-Aziz Anjas;
                k.     Wa’el Mahmud ‘Muhammad Ali’ Qasem;
                l.     Ala al-Din Mahmud Muhammad Abasi;
                m.     Wisam Sa’id Musa Abasi;
                n.     Muhammad Ishaq Awda;

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                o.     Jamal al-Tawil;
                p.     Ibrahim Jamil Mar’i Hamed;
                q.     Abdalla Ghaleb Abdalla Barghuthi;
                r.     Farid Salah Na’im Atrash;
                s.     Ayad Yusuf Abu Hilal;
                t.     Aziz Yusuf Ins Abu Hilal;
                u.     Abd el-Mu’ati Shabana;
                v.     Muhammad Fathi Farhat a/k/a Mohammed Farhath;f
                w.     Abd Allah Qawasmeh;
                x.     Izz al-Din Khader Shams al-Din Misk;
                y.     Ahmad Othman Muhammad Badr;
                z.     Sayid Isa Jabar Siam;
                aa.    Bilal Sub Laban; and
                bb.    Amar Nasser al-Din.

 RESPONSE TO REQUEST NO 3:

        Arab Bank objects to Request No. 3 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 28 alleged HAMAS leaders and operatives for whom Plaintiffs are requesting information,

 only 5 are referenced in the Complaints and only 4 are alleged to have committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank further objects to

 Request No. 3 on the grounds that it is vague, ambiguous, unduly burdensome, and/or seeks

 information outside of Arab Bank’s knowledge because it calls for all documents relating to: (1)

 Arab Bank accounts “concerning” the listed individuals without identifying the persons who

 allegedly opened or maintained the accounts; and (2) “funds transfers by Arab Bank concerning”

 the listed individuals without identifying who initiated and/or received the funds transfers. Arab

 Bank further objects to Request No. 3 to the extent it seeks production of banking records located

 in foreign jurisdictions that are subject to bank confidentiality laws prohibiting banks from

 disclosing such records under threat of civil and criminal penalties absent customer consent or

 regulatory approval. See Initial Objections, No. 2. Subject to and without waiving the foregoing,

 Arab Bank will conduct a reasonable search for, and produce on a rolling basis, non-privileged


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 documents responsive to this Request that relate to accounts opened or maintained at Arab Bank,

 or funds transfers initiated and/or received, by individuals identified in the Complaints.

 REQUEST NO 4:

       All Documents concerning accounts maintained at Arab Bank by or for the following
 HAMAS zakat committees, Islamic societies and social institutions or transfers involving those
 committees, societies and institutions:

                a.      Al-Mujama Al-Islami – Gaza (the Islamic Center – Gaza) (see, e.g.,
                        ABPLC212510);
                b.      Al-Jam’iya Al-Islamiya – Gaza (the Islamic Society – Gaza) (see, e.g.,
                        ABPLC212752);
                c.      Al-Salah Islamic Society– Gaza (Jam’iyat al-Salah al-Islamiya – Gaza)
                        (see, e.g., ABPLC212336);
                d.      Islamic Charitable Society – Hebron (Al-Jam’iya al-Khiriya al-Islamiya
                        al-Khalil) (see, e.g., ABPLC212755);
                e.      Jenin Zakat Committee (Lajnat al-Zakah Jenin) (see, e.g.,
                        ABPLC211751);
                f.      Nablus Zakat Committee (Lajnat al-Zakah Nablus) (see, e.g.,
                        ABPLC211766);
                g.      Al-Tadamun Charitable Society – Nablus (Jam’iyat Al-Tadamun al-
                        Khiriya al-Islamiya Nablus) (see, e.g., ABPLC212662);
                h.      Tulkarem Zakat Committee (Lajnat al-Zakah Tulkarem) (see, e.g.,
                        ABPLC212314);
                i.      Ramallah – al-Bireh Zakat Committee (Lajnat al-Zakah Ramallah wal-
                        Bireh) (see, e.g., ABPLC212303);
                j.      Al-Islah Charitable Society – Ramallah & Al-Bireh (Jam’iyat al-Islah al-
                        Khiriya al-Ajthamiya Ramallah wal-Bireh) (see, e.g., ABPLC212301);
                k.      Al Nur Prisoner Society - Gaza, a/k/a the Charity Society for Caring for
                        the Prisoners and the Martyrs’ Families (Jam’iyat Al-Nur al-Khairiya L-
                        Ri’ayat al-Asra Wa-Usar al-Shuhada) (see, e.g., ABPLC212928); and
                l.      Al-Huda Women Society (Jam’iyat al-Huda al-Nisa’iya).

 RESPONSE TO REQUEST NO 4:

        Arab Bank objects to Request No. 4 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 12 organizations for which Plaintiffs are requesting information, none are alleged to have

 committed, planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank

 further objects to Request No. 4 on the grounds that it is vague, ambiguous, unduly burdensome,



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 and/or seeks information outside of Arab Bank’s knowledge because it calls for all documents

 concerning: (1) “accounts maintained at Arab Bank by or for” the listed organizations without

 identifying the persons who allegedly opened or maintained the accounts; and (2) “transfers

 involving” the listed organizations without identifying the individuals who initiated and/or

 received the transfers. Arab Bank further objects to Request No. 4 to the extent it seeks production

 of banking records located in foreign jurisdictions that are subject to bank confidentiality laws

 prohibiting banks from disclosing such records under threat of civil and criminal penalties absent

 customer consent or regulatory approval. See Initial Objections, No. 2. Subject to and without

 waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set forth in Exhibit 1, which

 relate to organizations that are identified in the Complaints. Arab Bank will continue to conduct

 a reasonable search for, and produce on a rolling basis, non-privileged documents responsive to

 this Request that relate to accounts opened or maintained at Arab Bank, or transfers initiated and/or

 received, by organizations identified in the Complaints.

 REQUEST NO 5:

        All Documents concerning accounts maintained at Arab Bank by or transfers involving the
 following HAMAS fundraising organizations designated as SDGTs:

                a.      Union of Good a/k/a I’tilaf al-Khayr, including but not limited to Arab
                        Bank account #002850/811/9 at the Beirut, Lebanon branch;
                b.      Holy Land Foundation for Relief and Development;
                c.      Interpal a/k/a Palestine Relief and Development Fund;
                d.      CBSP a/k/a Comité de Bienfaisance et de Secours Aux Palestiniens;
                e.      Al Aqsa Foundation; and
                f.      Welfare Association for Palestinian and Lebanese Families a/k/a Waqifiya
                        Ri’aya al-Usra al-Filistinya wa al-Lubnanya.

 RESPONSE TO REQUEST NO 5:

        Arab Bank objects to Request No. 5 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 6 organizations for which Plaintiffs are requesting information, none are alleged to have

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 committed, planned, or authorized any of the Incidents. See Initial Objections, No. 1. Arab Bank

 also objects to Request No. 5 on the grounds that it is vague, ambiguous, unduly burdensome,

 and/or seeks information outside of Arab Bank’s knowledge because it calls for all documents

 concerning “transfers involving” the listed organizations without identifying the individuals who

 initiated and/or received the transfers. Arab Bank further objects to Request No. 5 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which relate to organizations that are identified in the Complaints. Arab Bank

 will continue to conduct a reasonable search for, and produce on a rolling basis, non-privileged

 documents responsive to this Request that relate to accounts opened or maintained at Arab Bank,

 or transfers initiated and/or received, by organizations identified in the Complaints.

 REQUEST NO 6:

        All Documents concerning transactions processed by Arab Bank for or on behalf of the
 Saudi Committee for the benefit of the families of the following HAMAS Suicide Bombers, 5
 including, but not limited to, transaction records, account statements, account opening
 documentation, communications concerning the transactions and/or recipients, receipts issued by
 Arab Bank to account holders and/or payees, and death certificates, photographic identification
 and/or certificates of martyrdom for the individuals that qualified the account holder or payee to
 receive payment:

                1.      Fatima ‘Ali Hasan Halabiya (see, e.g., ABPLC026358, ABPLC030875);
                2.      Atallah Yusuf ‘Abd Al-Jabbar ‘Amer (see, e.g., ABPLC023947);
                3.      Shuhayl Ahmad Isma’il el-Masri (see, e.g., ABPLC024025);
                4.      Muhammad Sa’id Ahmad Abu Safi (see, e.g., ABPLC018097);
                5.      Mahmud Iyada Adi Salah Al-Din (see, e.g., ABPLC026374);
                6.      Nabil Ibrahim Saleh Dar Jabar (see, e.g., ABPLC026286);
                7.      Arafat Muhammad Suliman Ashur (see, e.g., ABPLC021770);

        5
          The Request refers to each of the listed individuals as alleged “HAMAS Suicide
 Bombers,” and Arab Bank is responding to the Request as written.


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                8.     Bashir Khalil Ibrahim al-Ma’sawabi (see, e.g., ABPLC021732);
                9.     Talal Mustafa Ibrahim Abu Kweik (see, e.g., ABPLC021661);
                10.    Muhi al-Din Kamel Saleh Habeisheh (see, e.g., ABPLC030707);
                11.    Nuha Muhammad Taysir Mustafa al-Nadher (see, e.g., ABPLC021746);
                12.    Hasan Hussein Hassan Hutari (see, e.g., ABPLC023935);
                13.    Yusuf Muhammad Yusuf Hamad (see, e.g., ABPLC030821);
                14.    Nifin Yusuf Muhammad al-Ajrami (see, e.g., ABPLC026223);
                15.    Yusri Muhammad al-Tawil (see, e.g., ABPLC020316);
                16.    Family of the martyr Muhammad Abd Rabo Imad (see, e.g.,
                       ABPLC030783);
                17.    Ibrahim Mahmud Abd al-Salam Ashur (see, e.g., ABPLC026234);
                18.    Muhammad Abd Rabo Ibrahim Fayad (see, e.g., ABPLC030578);
                19.    Muhammad Subhi Mahmud Ahmad Sayid (see, e.g., ABPLC030655);
                20.    Kamel Sa’id Abdalla Zbeidi (see, e.g., ABPLC023867);
                21.    Umar Hamdan Ahmad Alayan (see, e.g., ABPLC024010);
                22.    Hasan Muhammad Hasan Abu Nasr (see, e.g., ABPLC021735);
                23.    Yaser ‘Arafat Khalil Ansiwi (see, e.g., ABPLC010760); and
                24.    Zuhira Ahmad Faleh Abu Hijla (see, e.g., ABPLC023921).

 RESPONSE TO REQUEST NO 6:

        Arab Bank objects to Request No. 6 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 24 alleged “HAMAS Suicide Bombers” for whom Plaintiffs are requesting information,

 none are referenced in the Complaints, much less alleged to have committed, planned, or

 authorized any of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for

 all banking records for the intended beneficiaries of these transactions, but the Complaints do not

 allege such records are related to any of the Incidents. Arab Bank further objects to Request No.

 6 to the extent it seeks production of banking records located in foreign jurisdictions that are

 subject to bank confidentiality laws prohibiting banks from disclosing such records under threat

 of civil and criminal penalties absent customer consent or regulatory approval.         See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank is producing the

 Linde Bates Nos. set forth in Exhibit 1, which include approximately 180,000 documents and




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 represent all of the Saudi Committee documents that Arab Bank has in its possession and produced

 in Linde after affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 7:

         All Documents concerning transactions processed by Arab Bank for or on behalf of the
 Saudi Committee for the benefit of families of the following HAMAS “Martyrs,” including, but
 not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

                1.     Muna Salim Saleh Mansur (see, e.g., ABPLC023919);
                2.     Shafiq ‘Ali Suliman Abu Al-Rus (see, e.g., ABPLC030780);
                3.     Muhammad Abdallah Salem Halas (see, e.g., ABPLC026216);
                4.     Muhammad abd al-Hadi Aqal (see, e.g., ABPLC026421);
                5.     Fawzi Mahmud Ahmad Abd al-Ghani (see, e.g., ABPLC026290);
                6.     Rabi’ Muhammad Saleh al-Batash (see, e.g., ABPLC026220);
                7.     Ilfat Jaber Saleh al-Razayna and Dib al-Razayna (see, e.g.,
                       ABPLC028692);
                8.     Mustafa Fuad Khalil al-Dahshan (see, e.g., ABPLC026241);
                9.     Hamdi Ahmad al-Masri and Rasmiya Hasan al-Masri (see, e.g.,
                       ABPLC028678);
                10.    Nizar Abd al-Qader Riyan (see, e.g., ABPLC030565);
                11.    Ahmad Salem Muhammad Halas (see, e.g., ABPLC030602);
                12.    Fayez Mustafa Muhammad Shehada (see, e.g., ABPLC030614);
                13.    Abd al-Ghani Muhammad Jud’an Abu Jamus (see, e.g., ABPLC026255);
                14.    Atiwi Hamdan Salem Abu Rizq (see, e.g., ABPLC026237);
                15.    Family of the martyr Yaser Husni Al-Masdar (see, e.g., ABPLC030627);
                16.    Rasmiya Ismail Ibrahim Asida (see, e.g., ABPLC026372);
                17.    Naser ‘Abd Al-Salam Ahmad Gazal (see, e.g., ABPLC030773);
                18.    Razan Husni Hilmi Halawa (see, e.g., ABPLC026275);
                19.    Lina Hafez Muhammad Sawaliha (see, e.g., ABPLC030714);
                20.    Wafaa’ Ibrahim Jaber al-Ghul (see, e.g., ABPLC026403);
                21.    Faten Hasan Abd al-Qader Taqi (see, e.g., ABPLC030713);
                22.    Lafi Yusuf Hamed al-Akhras and Khatam (see, e.g., ABPLC026179);
                23.    Ali Abd al-Qader Qassem Atiq (see, e.g., ABPLC030794);
                24.    Tahrir Atalla Shaker Marshud (see, e.g., ABPLC030649);
                25.    Ayman Yusuf Abd al-Rahman Abd al-Wahab (see, e.g., ABPLC030566);
                26.    Fawziya Ali Mustafa Abu Hijla (see, e.g., ABPLC026330);
                27.    Abd al-Rahim Abd al-Razaq Tubasi (see, e.g., ABPLC030643);
                28.    Taysir Husein Ahmad Fayed (see, e.g., ABPLC030941);
                29.    Mahmud Yusuf Abu al-Hija (see, e.g., ABPLC030940);
                30.    Inam Hilala Abd al-Rahim Aysha (see, e.g., ABPLC026334);
                31.    Salim Helmi Salim ‘Abd Al-Haq (see, e.g., ABPLC023973);

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                32.     Latifa Ahmad Muhammad Subh (see, e.g., ABPLC023879);
                33.     Awatif Suliman Hasan Abu Bakra (see, e.g., ABPLC018098);
                34.     Hasan Khader Mustafa Maluh (see, e.g., ABPLC030719);
                35.     Nimer ‘Abd Husein Mufaraja (see, e.g., ABPLC030729);
                36.     Jamal Ali Suliman Naijem (see, e.g., ABPLC030671);
                37.     Family of the Martyr Ibrahim Abd al-Karim Bani Awda (see, e.g.,
                        ABPLC011605);
                38.     Ali Yusuf Fayed (see, e.g., ABPLC026266);
                39.     Mahmud Khadr Muhammad (see, e.g., ABPLC030860);
                40.     Muhammad Ahmad Hasan Abu Hanud (see, e.g., ABPLC026390);
                41.     Ali Muhammad Ahmad Hilwa (see, e.g., ABPLC030932);
                42.     Hadil Khalil Ismail Hashayka (see, e.g., ABPLC026336);
                43.     Mansur Hasan Al-Hadiri (see, e.g., ABPLC026377);
                44.     Hussein Salem Amtir abu Dib (see, e.g., ABPLC026189);
                45.     Muhammad Saleh Musa Kamil (see, e.g., ABPLC030690);
                46.     Fawzi Salim Nayef Shabir and his son Zaher (see, e.g., ABPLC026418);
                47.     Mahmud Mas’ud Muhammad Abu Al-Sebah (see, e.g., ABPLC030761);
                48.     Rabah Darwish Husein Zaqut (see, e.g., ABPLC023891);
                49.     Sabah Abd al-Karim Yusuf al-Shalabi (see, e.g., ABPLC030922);
                50.     Amal Abd al-Karim Khalil Bishawi (see, e.g., ABPLC023951);
                51.     Taysir Husein Ahmad Fayed (see, e.g., ABPLC030941);
                52.     Nawal Muhammad Ahmad Musharaqa (see, e.g., ABPLC030972);
                53.     Omar Salim Ahmad Hawashin (see, e.g., ABPLC030919);
                54.     Jamal Sabri Abd al-Hamid Sweidan (see, e.g., ABPLC021761);
                55.     Rajaa Mahmud Nimer Abu al-Hija (see, e.g., ABPLC026319);
                56.     Isa Muhammad Mahmud Waishahi (see, e.g., ABPLC030979);
                57.     Muhammad Said Hamed Sawafteh (see, e.g., ABPLC030990);
                58.     Maysar Muhammad Hamed al-Surakji (see, e.g., ABPLC030888); and
                59.     Muhammad Shehada Ibrahim Tafesh (see, e.g., ABPLC021796).

 RESPONSE TO REQUEST NO 7:

        Arab Bank objects to Request No. 7 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 59 alleged “HAMAS Martyrs” for whom Plaintiffs are seeking information, only 2 are

 referenced in the Complaints, and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 7 to the extent

 it seeks production of banking records located in foreign jurisdictions that are subject to bank

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 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 8:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the families of the following HAMAS terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

                1.     Samir Subhi Salah al-Shawa (see, e.g., ABPLC011365);
                2.     Amiya Ahmad Hafez al-Taher (see, e.g., ABPLC012363);
                3.     Mina Salim Saleh Mansur (see, e.g., ABPLC010764);
                4.     Ni’ama Nuhad Khalil Dukhan (see, e.g., ABPLC11342);
                5.     Abd al-Fatah Hasan Dukhan (see, e.g., ABPLC021731);
                6.     Suad Suliman Istiti (see, e.g., ABPLC012447);
                7.     Saleh Abdallah al-Barghuthi (see, e.g., ABPLC012366);
                8.     Maysar Muhammad Hamed al-Surakji (see, e.g., ABPLC012415);
                9.     A’isha Masah Haniya (see, e.g., ABPLC011398);
                10.    Muna Fuad Khaled Najib (see, e.g., ABPLC010968);
                11.    Rim Ibrahim Hamdan Abu al-Al (see, e.g., ABPLC011772);
                12.    Maryam Muhammad Yusuf Farhat (see, e.g., ABPLC011170);
                13.    Hanaa’ Khamis Shehada Silmi (see, e.g., ABPLC011101);
                14.    Fadel Khaled Husein Abu Hin (see, e.g., ABPLC011146);
                15.    Fahed Yusuf Abu Atiya (see, e.g., ABPLC012494);
                16.    Ja’afar Sa’id Yusuf Zuyud (see, e.g., ABPL012413);
                17.    Rida Abdalla Isma’il al-Sanwar (see, e.g., ABPLC011177);
                18.    Ali Ahmad Ayub (see, e.g., ABPLC012491);
                19.    Samah Abd al-Hadi Abu Shawqa (see, e.g., ABPLC011771);
                20.    Isma’il ‘Abd al-Rahman Ahmad al-Ghanimat (see, e.g., ABPLC011468);
                21.    Sahr Muhammad ‘Ashur (see, e.g., ABPLC010730);
                22.    Fatima Ahmad Muhammad Hiles (see, e.g., ABPLC011056);
                23.    Zaynab Sha’ban Ahmad Taha (see, e.g., ABPLC010980);
                24.    Basel Muhammad Shafiq al-Qawasmeh (see, e.g., ABPLC010743);
                25.    Muhammad Salim Said Abu Hasna (see, e.g., ABPLC011384);

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             26.   Kamel Ya’qub Ta el-Ja’bari (see, e.g., ABPLC012711);
             27.   Aziz Yusuf Ans abu Hilal (see, e.g., ABPLC011367);
             28.   Nizam Ahed Sa’id Asfur (see, e.g., ABPLC011427);
             29.   Wafaa’ Ibrahim al-Ghul (see, e.g., ABPLC011812);
             30.   Subhiya Saber Hussein (Hasan) abu Khalifa (see, e.g., ABPLC012187);
             31.   Hiyam Sa’id Khalil (see, e.g., ABPLC010805);
             32.   Hanan Muhammad Saleh (see, e.g., ABPLC011755);
             33.   Dalal Muhammad Isa el-Zaban (see, e.g., ABPLC011220);
             34.   Laila Khalil Ali al-Halabi (see, e.g., ABPLC011790);
             35.   Shams Ahmad Mahmud al-Baluji (see, e.g., ABPLC011015);
             36.   Abir Fayiz Ali Ramana (see, e.g., ABPLC011376);
             37.   Abd al-Rauf Muhammad al-Mabhuh (see, e.g., ABPLC011401);
             38.   Khadija abd al-Qader Musleh Salame (see, e.g., ABPLC011388);
             39.   Fatima Muhammad ‘Abd al-Fatah Naqib (see, e.g., ABPLC010871);
             40.   Halima Ahmad Abu Fara (see, e.g., ABPLC010863);
             41.   Asma’ Muhammad Suliman Saba’ana (see, e.g., ABPLC010758);
             42.   Sinyura Sha’ban Ahmad Abdalla (see, e.g., ABPLC010936);
             43.   Dalal Ali Hasan al-Baz (see, e.g., ABPLC011065);
             44.   Wajiha ‘Abd al-Halim Rafiq Samaru (see, e.g., ABPLC010751);
             45.   Wajida Abd al-Rahman Hamad al-Sawiti (see, e.g., ABPLC019089);
             46.   ‘Abd al-Mu’iz Zain al-Din Saleh ‘Omar (see, e.g., ABPLC010892);
             47.   Randa Isma’il Ahmad Aqel (see, e.g., ABPLC011081);
             48.   Ismail Abd al-Jalil Ismail Ramadan (see, e.g., ABPLC010956);
             49.   Samiya Jamal Musleh;
             50.   Abd el-Qader Ibrahim Mahmud Hijaz (see, e.g., ABPLC012685);
             51.   Muzahira Ahmad Farhan al-Sharbati (see, e.g., ABPLC012465);
             52.   Maryam Dawud Abdalla al-Ghanimat (see, e.g., ABPLC010690);
             53.   Maisun Husein Abu Zaina (see, e.g., ABPLC010681);
             54.   Fadel Murshid Hamdan Baker (see, e.g., ABPLC012439);
             55.   Khulud Faisal ‘Abd al-Rahman al-Shalabi (see, e.g., ABPLC011499);
             56.   Afaf Muhammad Abu Armila (see, e.g., ABPLC012411);
             57.   Rabi’a Fayez Muhammad Sa’id (see, e.g., ABPLC012367);
             58.   Firas Wa’el Taleb Abu Sharakh (see, e.g., ABPLC012746);
             59.   Rabi’aa Fayiz Muhammad Sa’id (see, e.g., ABPLC012367);
             60.   Suhair Ibrahim al-Barghuthi (see, e.g., ABPLC012630);
             61.   Fatina Saleh Muhammad Sa’ada (see, e.g., ABPLC011237);
             62.   Muhammad Taher Naser (see, e.g., ABPLC011276);
             63.   Naima Ahmad Muhammad Zarab (see, e.g., ABPLC011334);
             64.   Sara Mahmud abd al-Hadi Talahmeh (see, e.g., ABPLC011299);
             65.   Musa’ed Saleh al-Arabid (see, e.g., ABPLC011768);
             66.   Munzir Muhammad Taysir Husein Ramadan (see, e.g., ABPLC012393);
             67.   Halima Abd al-Qader Yaqub al-Asta (see, e.g., ABPLC011278);
             68.   Almatha Abd al-Hafit’ Ibrahim Jamjum (see, e.g., ABPLC011039);
             69.   Nazha Khalil Hasan Ziyada (see, e.g., ABPLC011128);
             70.   Halima Hamuda Ayd Shabir (see, e.g., ABPLC011866);
             71.   Wafaa Fawzi al-Abd Dawidar (see, e.g., ABPLC011136);


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                72.     Zahira Mustafa Ahmad Asida (see, e.g., ABPLC012456);
                73.     Nidal Ahmad Mahmud Hutari (see, e.g., ABPLC010959);
                74.     Fatima ‘Abd al-Halim ‘Abd al-Mu’ti Abu Hamdiya (see, e.g.,
                        ABPLC010873);
                75.     Rasmiya Mahmud Abdalla Zaqut (see, e.g., ABPLC011764);
                76.     Tahrir Shaaban Muhammad al-Sharif (see, e.g., ABPLC011087);
                77.     Raeda Mustafa Hasan Mushtaha (see, e.g., ABPLC010971);
                78.     Khalil Abd al-Haq Sayid Amira (see, e.g., ABPLC011547);
                79.     Safiya Abd al-Qader Dudin (see, e.g., ABPLC012445);
                80.     Ikram Abd Salame Harez (see, e.g., ABPLC011204);
                81.     Abala Ibrahim Saleh Abu Shamala (see, e.g., ABPLC011102);
                82.     Isma’il Ibrahim al-Dirawi (see, e.g., ABPLC021747);
                83.     Rida Abdalla Isma’il al-Sinwar (see, e.g., ABPLC011116);
                84.     Muna Salman Hussein Hassan;
                85.     Lina Tahsin Muhammad Hamed (see, e.g., ABPLC011525); and
                86.     Abdalla Khalil Abdalla Abu al-Rab (see, e.g., ABPLC012483).

 RESPONSE TO REQUEST NO 8:

        Arab Bank objects to Request No. 8 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 86 alleged “HAMAS terrorists” for whom Plaintiffs are seeking information, only 2 are

 referenced in the Complaints and none are alleged to have committed, planned, or authorized any

 of the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking

 records for the intended beneficiaries of these transactions, but the Complaints do not allege such

 records are related to any of the Incidents. Arab Bank further objects to Request No. 8 to the extent

 it seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.


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 REQUEST NO 9:

         All Documents concerning transactions processed by Arab Bank on behalf of the Saudi
 Committee for the benefit of the following HAMAS operatives, including, but not limited to,
 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the HAMAS
 operatives, and death certificates, photographic identification and certificates of martyrdom and/or
 proof of incarceration for the individuals that qualified HAMAS operatives to receive payment:

                1.      Ahmad Sa’id Khalil al-Ja’bari (see, e.g., ABPLC019308);
                2.      Sabah al-Ja’bari (see, e.g., ABPLC011787);
                3.      Naser Sami Abd al-Razeq Yataima (see, e.g., ABPLC015894);
                4.      Murad Ali al-Qawasmeh (see, e.g., ABPLC017093);
                5.      Abd al-Halim Saqer Fayumi (see, e.g., ABPLC013138);
                6.      Ali Juma Ahmad Juma (see, e.g., ABPLC013273);
                7.      Ibrahim Ahmad Khaled al-Muqadama (see, e.g., ABPLC019283);
                8.      Mahmud Saadi Aliwa (see, e.g., ABPLC013462);
                9.      Muhammad Jihad al-Hayek (see, e.g., ABPLC013304);
                10.     Muhanad Talal Mansur Sharim (see, e.g., ABPLC015882);
                11.     Mumin Omar Maghari (see, e.g., ABPLC013323);
                12.     Amar Yusuf Kalbuna (see, e.g., ABPLC016946);
                13.     Mansur Ahmad abu Hamid (see, e.g., ABPL017709); and
                14.     Ra’ed Abd el-Hamid Abd el-Razaq Misk (see, e.g., ABPL189273).

 RESPONSE TO REQUEST NO 9:

        Arab Bank objects to Request No. 9 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 14 alleged “HAMAS operatives” for whom Plaintiffs are seeking information, none are

 referenced in the Complaints, much less alleged to have committed, planned, or authorized any of

 the Incidents. See Initial Objections, No. 1. Additionally, the Request calls for all banking records

 for the intended beneficiaries of these transactions, but the Complaints do not allege such records

 are related to any of the Incidents. Arab Bank further objects to Request No. 9 to the extent it

 seeks production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank is producing the Linde Bates Nos. set

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 forth in Exhibit 1, which include approximately 180,000 documents and represent all of the Saudi

 Committee documents that Arab Bank has in its possession and produced in Linde after

 affirmatively obtaining the Saudi Committee’s consent.

 REQUEST NO 10:

         All Documents concerning transactions processed by Arab Bank on behalf of the Al Ansar
 Society for the benefit of the families of [the following]6 martyrs, including, but not limited to,
 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to account holders
 and/or payees, and death certificates, photographic identification and/or certificates of martyrdom
 for the individuals that qualified the account holder or payee to receive payment:

                1.     Muhanad Mahmoud Ibrahim Abu Zor;
                2.     Khaled Nabil Khamis Mohammed Sawalha;
                3.     Ibrahim Yasser Ibrahim Naji Khalil;
                4.     Amjad Sulieman Hassan Hussein Abu Salim;
                5.     Khaldoun Walid Aref Mohammed Sha’ablu;
                6.     Omar Mohhamed Awad Abu Al-Rob;
                7.     Yusuf Mohammed Rareb Hamdan Abu Al-Rob;
                8.     Abd Al-Karim Omar Mohammed Yusuf Ahmed;
                9.     Nazir Muhammad Mahmud Hamad;
                10.    Izz al-Din Shuhayl Ahmad al-Masri;
                11.    Muhammad Ahmad Halas;
                12.    Bilal Fayez Mustafa Shehada;
                13.    Muhammad Abd al-Ghani Muhammad Abu Jamus;
                14.    Imad Atiwi Abu Razaq;
                15.    Abd al-Rahman Naser Ghazal;
                16.    Ahmad Abd al-Qader Atiq;
                17.    Muhammad Hasan Ahmad al-Fayed;
                18.    Amjad Hussein Ahmad al-Fayed;
                19.    Khaled Jamal Ali Najem;
                20.    Mahmud Ali al-Hilwa;
                21.    Saleh Muhammad Saleh Kamil;
                22.    Mustafa Abd al-Rahim Yusuf al-Shalabi;
                23.    Muhammad Khalil Atiya Musharaqa;
                24.    Muhammad Omar Salim Hawashin;
                25.    Munir Issa Wishahi;
                26.    Munqidh Muhammad Sawafteh; and

        6
            Given that Request Nos. 1-9 refer to information requested for “the following”
 individuals or entities, Arab Bank assumes it was a typographical error that Plaintiffs omitted the
 words “the following” here. Arab Bank is thus responding as if the Request had stated “the
 following,” without which the Request would be far more disproportionate to the needs of the
 cases.

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                27.    Yaser Husni Al-Masdar.

 RESPONSE TO REQUEST NO 10:

        Arab Bank objects to Request No. 10 on the grounds that it seeks information that is overly

 broad, not relevant, and disproportionate to the claims and defenses in these cases. In particular,

 of the 27 alleged “martyrs” for whom Plaintiffs are requesting information, only 2 are referenced

 in the Complaints, and none are alleged to have committed, planned, or authorized any of the

 Incidents. See Initial Objections, No. 1. Arab Bank further objects to Request No. 10 on the

 grounds that it is vague, ambiguous, unduly burdensome, and/or seeks information outside of Arab

 Bank’s knowledge because it calls for documents concerning “transactions processed by Arab

 Bank on behalf of the Al Ansar Society for the benefit of the families of” the alleged martyrs

 without identifying: (1) the persons who allegedly transferred the funds on behalf of the Al Ansar

 Society; (2) the “families” of any such “martyrs”; or (3) the persons who were the purported

 recipients of the transactions. Arab Bank further objects to Request No. 10 to the extent it seeks

 production of banking records located in foreign jurisdictions that are subject to bank

 confidentiality laws prohibiting banks from disclosing such records under threat of civil and

 criminal penalties absent customer consent or regulatory approval. See Initial Objections, No. 2.

 Subject to and without waiving the foregoing, Arab Bank will conduct a reasonable search for, and

 produce on a rolling basis, non-privileged documents responsive to this Request that relate to

 individuals identified in the Complaints.

 REQUEST NO 11:

         All Documents concerning listings or databases provided to, or maintained by, Arab Bank
 containing the names of Palestinians in Israeli custody, Palestinian “Martyrs,” Suicide Bombers or
 other persons killed or injured during the Second Intifada, the dates and manner of death or injury
 of any such individuals, payments made to the families of such persons or Arab Bank contacts
 with the Saudi Committee, Al Ansar or any organization listed in Request No. 4 regarding such
 listings and databases, including, but not limited to, Documents which identify Arab Bank
 employees with knowledge of such listings and databases.

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 RESPONSE TO REQUEST NO 11:

        Arab Bank objects to Request No. 11 on the grounds that it is overly broad, unduly

 burdensome, vague, and seeks the production of documents that are not relevant, outside of Arab

 Bank’s knowledge, and/or disproportionate to the claims and defenses in these cases. In particular,

 the Request fails to identify: (1) the individuals in Israeli custody who are described above as

 “Palestinians”; (2) the assailants, including the alleged “Palestinian Martyrs” and “Suicide

 Bombers,” who were killed or injured during the “Second Intifada”; (3) the “families” of those

 assailants and thus persons to whom payments were allegedly made; or (4) the individuals related

 to various organizations, including, among others, the Saudi Committee, Al Ansar, and those listed

 in Request No. 4, who are alleged to have had “contacts” with Arab Bank. Arab Bank also objects

 to Request No. 11 because it fails to identify any specific connection between those alleged

 assailants or individuals in custody and the Incidents. Arab Bank further objects to Request No.

 11 to the extent it seeks production of banking records located in foreign jurisdictions that are

 subject to bank confidentiality laws prohibiting banks from disclosing such records under threat

 of civil and criminal penalties absent customer consent or regulatory approval. See Initial

 Objections, No. 2. Subject to and without waiving the foregoing, Arab Bank will conduct a

 reasonable search for, and produce on a rolling basis, non-privileged documents responsive to this

 Request that are alleged to specifically relate to the Incidents.




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 Dated: August 23, 2019

                                            By: __________________________
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                                                  Counsel for Arab Bank, plc




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                           Exhibit 1
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              Exhibit 1 to Defendant Arab Bank, plc’s Responses and Objections
                to Plaintiffs’ First Request for the Production of Documents1

               Request Number(s)                             Linde Bates Range
                       1                                       ABPLC006883
                                                         ABPLC006884 - ABPLC006887
                                                         ABPLC006888 - ABPLC006890
                                                               ABPLC006891
                                                               ABPLC006892
                                                               ABPLC006893
                                                               ABPLC006894
                                                               ABPLC006895
                                                               ABPLC006896
                                                               ABPLC006897
                                                               ABPLC006898
                                                               ABPLC006899
                                                               ABPLC006900
                                                               ABPLC006901
                                                               ABPLC006902
                                                               ABPLC009927
                                                               ABPLC009928
                                                               ABPLC009929
                                                         ABPLC188913 - ABPLC188914
                                                         ABPLC188915 - ABPLC188917
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                                                               ABPLC188933
                                                               ABPLC188934


        1
          This chart identifies generally the Requests and the corresponding documents Arab Bank
 is producing. This is not, however, an exhaustive list in that certain documents may be responsive
 to more than one Request.
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                                                    ABPLC188935
                                                    ABPLC188936
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                                             ABPLC211751 - ABPLC211752
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                                                    ABPLC212542
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                                                    ABPLC212649
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                                                   ABPLC212958
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                                             ABPLC215844 - ABPLC215845
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                                                   ABPLC213485
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                                                       ABPLC198090 - ABPLC200300
                                                       ABPLC211204 - ABPLC211210
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